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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

ELAINE ARMSTEAD,             )
                             )
    Plaintiff,               )
                             )
v.                           )                 Case No. 1:14-cv-586-WSD
                             )
ALLSTATE PROPERTY & CASUALTY )
INSURANCE COMPANY            )
                             )
    Defendant.               )


         DEFENDANT ALLSTATE PROPERTY AND CASUALTY
           INSURANCE COMPANY’S BRIEF IN SUPPORT OF
        ITS RENEWED MOTION IN LIMINE TO EXCLUDE THE
             OPINION TESTIMONY OF BRUCE FREDRICS

      COMES NOW, Defendant Allstate Property and Casualty Insurance

Company (“Allstate”) and files this Brief in Support of its Renewed Motion In

Limine To Exclude the Opinion Testimony of Bruce Fredrics by showing this

Honorable Court the following:

                            I.    INTRODUCTION

      On March 14, 2016, this Honorable Court continued the trial in this matter to

allow Plaintiff the opportunity to properly disclose her proposed expert, Bruce

Fredrics. [Doc. 89]. On March 23, 2016, Plaintiff filed a Rule 26 Expert Report of
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Bruce Fredrics. [Doc. 97]. The Report itself is sixty-seven (67) pages long and

contains twenty (20) attachments. [Docs. 97-101]. Large portions of the Report

are block quotes that appear to have been cut and pasted from certain manuals or

treatises with no factual relation to the present case. [Doc. 97]. In its Order

allowing Plaintiff to file an expert report, the Court also provided that Allstate

would have the right to file motions to exclude all or part of Mr. Fredrics’s

proposed opinion testimony.        [Doc. 89].     Accordingly, Allstate now files the

present Motion to Exclude the Opinion Testimony of Bruce Fredrics.

                          II.    STATEMENT OF FACTS

         This is an insurance coverage dispute. Allstate issued a homeowner’s policy

of insurance to the Plaintiff for a house located at 2445 Country Lake Lane in

Powder Springs, Georgia. [Doc 1-1, ¶ 6]. On December 7, 2011, the Plaintiff’s

house was damaged by a small stovetop fire. Id. at ¶ 7. Plaintiff made a claim

with Allstate for damage allegedly caused by the stovetop fire. Id. at ¶ 11. On

August 3, 2012, Plaintiff hired Bruce Fredrics, a public adjuster, to assist her with

her insurance claim. [Exhibit A].1 Mr. Fredrics was hired on a contingency fee

basis.     The Plaintiff agreed to pay Mr. Fredrics’s employer, United States


1
 /     For the Court’s convenience, a copy of the “Georgia Retainer Agreement & Contract” is
being filed with Allstate’s Motion as Exhibit A. The Agreement was authenticated by Mr.
Fredrics and attached as Exhibit 2 to his 2014 deposition. [Doc. 33-2, p. 15].

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Adjusters, Inc., 15% of any proceeds she collects from Allstate. Id. On September

24, 2012, Mr. Fredrics prepared an estimate in the amount of $59,233.51 to repair

the damage to the Plaintiff’s house allegedly caused by the stovetop fire. [Doc. 97-

3].2 On January 27, 2012, Mr. Fredrics prepared an estimate in the amount of

$11,731.79 to clean the Plaintiff’s personal property allegedly damaged by the

stovetop fire. [Doc. 97-4].3

       On October 8, 2012, Mr. Fredrics’s contractual arrangement with the

Plaintiff changed from public adjuster to appraiser. [Doc. 33-2, pp. 54, 56]. While

briefly acting as an appraiser, Mr. Fredrics allegedly agreed to bill the Plaintiff at

an hourly rate of $250.00 an hour, up to the same cap of 15% of any proceeds the

Plaintiff received from Allstate. Id. at 54-57. However, the appraisal process did

not go forward. Id. at 58. Accordingly, on December 10, 2012, Mr. Fredrics went

back to acting as the Plaintiff’s public adjuster. Id. at 60-61. As her public

adjuster, Mr. Fredrics would be paid on a 15% contingency fee basis. Id.




2
  /     Interestingly, Jeffrey Pellet of U.S. Adjusters later submitted a reduced estimate in the
amount of $48,347.11 for the structural damage allegedly caused by the fire.
3
  /     Although the contents cleaning is discussed in Mr. Fredrics’s Rule 26 Report, Plaintiff
did not include an amount for contents cleaning in Attachment C to the Pretrial Order. [Doc. 46,
pp. 91-92]. At the pretrial conference, the Court noted that items not included in the Pretrial
Order would not be part of the trial. [Doc. 80, p. 16].

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       In May 2013, after preparing the estimates in this case, Mr. Fredrics ceased

his employment with U.S. Adjusters. [Exhibit B, p. 6].4 On or about July 15,

2013, Jeffrey Pellet of U.S. Adjusters prepared a revised, lower estimate in the

amount of $48,347.11 for the repair of the damage to Plaintiff’s house allegedly

caused by the stovetop fire. [Plaintiff’s Exhibit 97].5 To the best of Mr. Fredrics’s

knowledge, Plaintiff’s Contract with U.S. Adjusters is still in full force and effect.

[Exhibit B, p. 42]. Under the Contract, U.S. Adjusters would be entitled to 15% of

any amount awarded to Plaintiff at the trial of the case. [Exhibit A].

             III.    ARGUMENT AND CITATION OF AUTHORITY

       Plaintiff has filed a sixty-seven (67) page Expert Report for Bruce Fredrics.

Although the Report of Mr. Fredrics contains many proposed opinions, for

purposes of this Motion, the subject matter of the opinions can be grouped in three

categories: (1) the cost to repair or replace the property allegedly damaged by the

stovetop fire; (2) whether Allstate complied with its duties under the policy; and

(3) whether Allstate acted in bad faith. Mr. Fredrics should not be allowed to offer

opinion testimony about any of these topics.



4
  /      The transcript for the deposition of Bruce Fredrics taken by Allstate on May 17, 2016 is
being filed with Allstate’s Motion as Exhibit B.
5
  /      Jeffrey Pellett should not be allowed to give expert opinion testimony as Plaintiff did not
file a proper Rule 26 Expert Report for Mr. Pellet.

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A.     Bruce Fredrics Should Not Be Allowed To Give Expert Opinion
       Testimony Due To His Contingent Interest In The Outcome Of
       This Case.

       District courts have broad discretion to determine the admissibility of expert

testimony and evidence. Montgomery v. Aetna Casualty & Surety Co., 898 F.2d

1537, 1541 (11th Cir. 1990). Although there is some debate about this subject,

many courts have held that a witness cannot properly offer opinion testimony when

that witness has a contingent interest in the outcome of the case. See Accrued Fin.

Servs. Inc. v. Prime Retail, Inc., 298 F.3d 291, 300 (4th Cir. 2002), City & County

of Denver, Colo. v. Bd. of Assessment Appeals of State of Colo., 947 P.2d 1373,

1374 (Colo. 1997) (person may not act as appraiser or expert witness and present

expert testimony under contingent fee agreements), Cresswell v. Sullivan &

Cromwell, 922 F.2d 60, 73 (2d Cir. 1990) (excluding an expert's testimony because

he had been retained by the plaintiff on a contingency fee basis), Farmer v.

Ramsay, 159 F. Supp. 2d 873, 883-884 (D. Md. 2001) (excluding an expert's report

and testimony as a result of his improper contingency fee arrangement with the

plaintiff).

       In fact, this rule has been applied in the case of a public adjuster being paid

on a contingent fee basis. In Everett Cash Mutual Insurance Co. v. Gibble, No.

0101,640, 2004 WL 5149339, (Pa. Com. Pl.) (May 14, 2004), the insured sought

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the assistance of a public adjuster prior to any litigation and signed a “Public

Adjustor Contract,” retaining the public adjuster “to advise and assist in the

adjustment of the insurance claim,” agreeing to pay a contingent fee comprising a

certain percentage “of the amount paid by the insurance companies in settlement of

[the] loss and necessary expenses.” During litigation, the insured’s counsel sought

to have the public adjuster offer an expert opinion that the insurer “did not follow

proper claims practice.” Faced with these facts, the court precluded the public

adjuster from offering expert opinion evidence, finding that the attempt to

segregate the public adjuster’s work as an expert witness from his work as a public

adjustor was “merely one of form”. Id.

      This reasoning is supported by the rules of the State Bar of Georgia as well.

Under the Georgia Rules of Professional Conduct, a lawyer shall not acquiesce in

the payment of compensation to a witness contingent upon the content of the

testimony or the outcome of the case. [Rule 3.4]. Having a contingent fee contract

with an expert witness has held to be unethical. See Kent v. A.O. White, Jr.

Consulting Engineer, P.C., 253 Ga. App. 492, 559 S.E.2d 731 (2002), overruled

on other grounds, Time Warner Entertainment Co. v. Six Flags of Ga., LLC, 254

Ga. App. 598, 563 S.E.2d 178 (2002).

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      Here, Plaintiff hired Bruce Fredrics and U.S. Adjusters to act as her public

adjuster on a contingency fee basis. [Exhibit A]. While acting as Plaintiff’s public

adjuster, Mr. Fredrics prepared an estimate to repair the damage to the Plaintiff’s

house allegedly caused by the stovetop fire and an estimate to clean the Plaintiff’s

personal property allegedly damaged by the stovetop fire. [Exhibit B, pp. 29-20].

Due to Mr. Fredrics’s contingent interest in the Plaintiff’s claim, this Honorable

Court should exercise its discretion and preclude his opinion testimony.

      1. The Contract Is With Bruce Fredrics’s Employer.

      Plaintiff has argued Mr. Fredrics should be allowed to give his expert

opinions at trial because the contingency agreement at issue was executed between

Plaintiff and Mr. Fredrics’s employer, U.S. Adjusters, Inc. and not with Mr.

Fredrics individually. [Doc. 37, p. 3]. This is a distinction without a difference.

Even if the contingency agreement is with the expert’s employer, the expert still

cannot testify. See Accrued Fin. Servs. Inc. v. Prime Retail, Inc., 298 F.3d 291,

300 (4th Cir. 2002); City & County of Denver, Colo. v. Bd. of Assessment Appeals

of State of Colo., 947 P.2d 1373, 1374 (Colo. 1997).           Otherwise, the rule

prohibiting such testimony could be easily subverted.




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      2. Bruce Fredrics Has Changed Employers.

      Plaintiff has also argued Mr. Fredrics should be allowed to give his expert

opinions at trial because he no longer works for U.S. Adjusters. [Doc. 37, p. 3].

This argument is also without merit. When courts examine the potential bias of an

expert witness, courts look at the interest the witness had in the outcome of the

case at the time the expert prepared their appraisal, estimate, report or other

opinion. See Everett Cash Mutual Ins. Co. v. Bonnie Sue Gibble, No. 01-01,640,

2004 WL 5149339, (Pa. Com. Pl.) (May 14, 2004); Belefonte v. Miller, 243 A.2d

150, 152 (Pa. Super 1968). Otherwise, any expert with a contingent interest in a

case could simply disavow or cancel his contract the week before trial in order to

testify. Here, it is undisputed Mr. Fredrics formed his opinions and prepared his

estimates at a time when he was employed by U.S. Adjusters. [Doc. 33-2, p. 16;

Exhibit B, pp. 29-30]. Since his opinions were formed at a time when he had a

contingent interest in the case, this Honorable Court should exercise its discretion

and preclude his opinion testimony. Likewise, Jeffrey Pellet prepared an estimate

for U.S. Adjusters for the repair of the property allegedly damaged by the stovetop

fire. His opinions were also formed while having a contingent interest in the case.

The Court should preclude Mr. Pellett’s opinion testimony due to his contingent

interest as well.

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B.    Bruce Fredrics Should Not Be Allowed To Give Opinions And
      Conclusions Regarding Allstate’s Alleged Duties Under The
      Policy Or Coverage Issues.

      Under Georgia law, undefined words in an insurance policy must be given

their usual, ordinary and common meaning. Mack v. Nationwide Mut. Fire Ins.

Co., 238 Ga. App. 149, 517 S.E.2d 839, 841 (1999); Arkin v. Fireman’s Fund Ins.

Co., 228 Ga. App. 564, 566, 492 S.E.2d 314 (1998). Insurance policies must be

read as a layman would read them and not as they might be analyzed by an expert

or attorney. Mahens v. Allstate Ins. Co., 447 Fed. Appx. 51, 54 (11th Cir. 2011).

      It has repeatedly been held that expert opinions regarding coverage are

inadmissible as expert legal opinion. See Plantation Pipeline Co. v. Continental

Cas. Co., No. 1:0-CV-2811-WBH, 2008 WL 4737163, *7 (N.D. Ga. July 31,

2008). The opinions of percipient or expert witnesses regarding the meaning of

contractual provisions are irrelevant and hence inadmissible. Coyote Portable

Storage, LLC v. PODS Enterprises, Inc., No. 1:09-CV-1152-AT, 2011 WL

1870593, *3-4 (N.D. Ga. May 16, 2011). In fact, Plaintiff’s counsel previously

attempted to utilize Bruce Fredrics as an expert in an insurance coverage case

before this Honorable Court, and this Court advised the Plaintiffs as follows:

      Plaintiffs are admonished that even an expert witness may not testify
      to legal conclusions, including the interpretation of an insurance
      policy, and thus opinions such as coverage, the parties’ respective


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      duties, and whether an insured “is entitled to” any funds, under an
      insurance policy are not admissible and will not be allowed at trial,
      whether the testimony is offered by a fact or an expert witness. See,
      e.g., Montgomery v. Aetna Cas. & Surety Co., 898 F.2d 1537, 1542
      (11th Cir. 1990); Nationwide Mut. Fire Ins. Co. v. Somers, 264 Ga.
      App. 421, 591 S.E.2d 430, 433 (Ga.Ct.App. 2003) (en banc) (per
      curiam) (expert opinion as to an insurer’s duty under a policy was not
      admissible); FCCI Ins. Grp. v. Rodgers Metal Craft, Inc., No. 4:06-
      cv-107, 2008 WL 2951992, at *3 (M.D.Ga. July 28, 2008) (expert
      opinion as to whether coverage applied under a policy was not
      admissible).

Javits v. State Farm Fire and Cas. Co., No. 1:13-cv-487-WSD, 2004 WL 4230069,

FN 16 (Aug. 26, 2014).

      Here, the Rule 26 Expert Disclosure of Bruce Fredrics contains many such

proposed opinions that should be excluded. For example, Plaintiff intends to have

Mr. Fredrics testify the following opinions:

         o The Allstate policy (citing page 18) provides coverage for loss to a

             pair or set, which essentially provides for the matching of items to

             properly restore the set. Applying this policy language, Allstate was

             required to replace all the kitchen cabinets. [Doc. 97, ¶ 133(b)].

         o Allstate had a duty to to give the benefit of the doubt to the insured on

             the existence of smoke damage. Allstate failed to fulfill that duty.

             [Doc. 97, ¶ 107].




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           o If the entire carpet is damaged by smoke, a covered peril under the

             policy, Allstate is required under the policy to replace the entire

             carpet. [Doc. 97, ¶ 130].

           o Under the policy, Allstate had a duty to clean all the contents and

             fixtures in every room of Ms. Armstead’s house. Allstate failed to

             fulfill that duty. [Doc. 97, ¶127].

           o Although the policy excludes wear and tear, this would not preclude

             coverage for replacement of carpet, if the dominant cause of the

             damage is covered under the policy. [Doc. 97, ¶ 129].

      When describing his opinions regarding the present case, Mr. Fredrics

testified as follows:

      Q:     Do the opinions set forth in your disclosure relate to your
             opinion regarding Allstate’s duty or duties to Ms. Armstead
             under the policy?

      A:     Yes.

[Exhibit B, pp. 83].

As this Court has explained, expert opinions as to an insurer’s duty under a policy

or to whether coverage applies are not admissible. Javits, 2014 WL 4230069, *14

FN 16.     Accordingly, Mr. Fredrics should not be permitted to give opinion




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testimony or conclusions regarding Allstate’s alleged duties under the policy or

regarding coverage.

C.    Bruce Fredrics Should Not Be Allowed To Give Opinions And
      Conclusions Regarding Allstate’s Alleged Bad Faith Claim
      Handling.

      Rule 401 of the Federal Rules of Evidence defines relevant evidence as

“evidence having any tendency to make the existence of any fact that is of

consequence to the determination of the action more probable or less probably than

it would be without the evidence.” [Fed. R. Evid. 401]. Under Georgia law, the

proper standard for judging a bad faith claim under O.C.G.A. § 33-4-6 is based

solely on the evidence adduced at trial as to whether the insurer’s coverage

determination was reasonable. Hudson v. State Farm Mutual Auto. Ins. Co., 201

Ga. App. 351, 353 S.E.2d 351, 353 (1991). This determination relates only to the

reasonableness of the coverage decision and may not be based on the insurance

company’s handling of the claim. Patton v. Provident Life and Accident Ins. Co.,

No. 1:01-CV-19999-JOF (N.D. Ga. Oct. 25, 2002).

      As a matter of Georgia law, a public adjuster cannot give expert opinion

testimony regarding whether or not a claim should have been paid, as this is a

question of coverage. See Coyote Portable Storage, LLC, 2011 WL 1870593, *3-

4; Plantation Pipeline Co., 2008 WL 4737163, *7. Likewise, it is not the role of a


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public adjuster to give expert opinion testimony regarding the alleged bad faith of

the insurer. “Bad faith” means any frivolous and unfounded refusal in law or in

fact to comply with the demand of the policyholder to pay according to the terms

of the policy. Southern General Ins. Co. v. Kent, 187 Ga. App. 496, 370 S.E.2d

663 (1988).    Penalties for bad faith are not authorized where the insurance

company has any reasonable grounds to contest the claim. JLM Enters., Inc. v.

Hous. Gen. Ins. Co., 196 F.Supp. 2d 1299, 1314 (S.D. Ga. 2002). Where there is a

reasonable basis for so doing, an insurer is entitled to maintain and defend its

position as to the amount of its liability without the imposition of penalty and

attorney’s fees, even if doing so results in considerable delay in bringing the matter

to a conclusion. Georgia Farm Bureau Mut. Ins. Co. v. Boney, 113 Ga. App. 459,

148 S.E.2d 457, 460 (1966).

      The determination of bad faith is not based upon a comparison of the

Plaintiff’s claim with other claims or upon the company’s handling of the claim.

Patton, 2002 WL 32074278, *1 (N.D. Ga. Oct. 25, 2002), citing Hudson v. State

Farm Mut. Auto Ins. Co., 201 Ga. Ap. 351, 353 (1991). Instead, it is based upon

the reasonableness of the claim decision. As this Honorable Court has explained,

where there are two disparate estimates of the cost to repair, a bona fide dispute




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likely exists as to the extent of the insurer’s liability - thereby precluding an award

of bad faith damages. Javits, 2014 WL 4230069, at *9.

      The Rule 26 Expert Report of Bruce Fredrics contains pages and pages of

proposed opinions and conclusions regarding Allstate’s alleged bad faith claim

handling.     For example, Plaintiff proposes to have Mr. Fredrics testify the

following conclusions:

            • Allstate’s refusal (to pay any further money to Ms. Armstead) fell

               below the standard of care and was in bad faith. [Doc. 97, ¶ 102]

            • The Allstate adjuster had a duty to properly document the claim file.

               Allstate failed to fulfill this duty. [Doc. 97, ¶¶ 108-110].

            • The Allstate adjuster did not take enough photos. [Doc. 97, ¶ 118]

            • Allstate had a duty to give the benefit of the doubt to the homeowner

               and not second-guess the homeowner. Allstate failed to fulfill this

               duty. [Doc. 97, ¶ 122].

            • Allstate had a duty to interview independent witnesses. Allstate failed

               to fulfill this duty. [Doc. 97, ¶ 123].

            • Allstate had a duty to look for reasons to cover the loss, not to look for

               reasons not to cover the loss. Allstate failed to fulfill this duty. [Doc.

               97, ¶ 124].

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          • Allstate had a duty to explain the policy and its meaning in relation to

              the loss. Allstate failed to fulfill this duty. [Doc. 97, ¶ 137].

          • Allstate had a duty to return phone calls, provide explanations and be

              available for questions. Allstate failed to fulfill this duty. [Doc. 97, ¶

              143-144].

          • Allstate has a duty to pay to make repairs until full indemnity is

              provided or until policy limits are exhausted. Allstate failed to fulfill

              this duty. [Doc. 97, ¶ 154].

          • Allstate had a duty to negotiate with Ms. Armstead, which means

              “making concessions to arrive at a mutually satisfying settlement.”

              [Doc. 97, ¶¶ 155, 159].

          • Allstate had a duty to participate in appraisal. Allstate failed to fulfill

              this duty. [Doc. 97, ¶ 184].6

       During his deposition, Mr. Fredrics admitted that his opinions in this case

are basically legal conclusions that Allstate acted in bad faith and, therefore, are

improper. Mr. Fredrics testified as follows:




6
       Georgia law is clear that an appraisal clause in an insurance policy can only resolve a
disputed issue of value, not liability. Lam v. Allstate Indemnity Co., 327 Ga. App. 151, 755
S.E.2d 544 (2014).

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      Q:     As a whole, does your disclosure and your opinions that are set
             forth in your disclosure, do they relate to your opinions about
             Allstate’s handling of Ms. Armstead’s claim under the Allstate
             policy?

      A:     Yes.

      Q:     Do the opinions set forth in your disclosure relate to your
             opinion regarding Allstate’s duty or duties to Ms. Armstead
             under the policy?

      A:     Yes.

[Exhibit B, pp. 82-83].

      With this Motion, Defendant Allstate does not seek to preclude Bruce

Fredrics from testifying regarding the facts of the Plaintiff’s claim. Allstate seeks

to preclude his opinions and conclusions regarding Allstate’s alleged bad faith

handling of Plaintiff’s claim. This is not the proper standard for determining bad

faith under Georgia law, and it is not a proper inquiry for expert opinion testimony.

As such, Mr. Fredrics should not be allowed to give such opinions at trial.

                               IV.    CONCLUSION

      Based on the foregoing, Defendant Allstate Property and Casualty Insurance

Company respectfully requests that this Honorable Court inquire into its Motion

and grant the relief requested therein.




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                                    Respectfully submitted.

                                    WEBB, ZSCHUNKE, NEARY
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                          CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically filed the within and
foregoing pleading (prepared in Times New Roman 14 point font) with the Clerk
of Court using the CM/ECF system which will automatically send e-mail
notification of such filing to the following attorneys of record:
                                 Sandra Finch, Esq.
                              The Russell’s Law Firm
                             741 E. Fry Blvd., Suite 200
                               Sierra Vista, AZ 85635

      This 27th day of May 2016.


                                               /s/ Melissa C. Patton
                                               MELISSA C. PATTON
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